        Case 3:16-md-02741-VC Document 17323 Filed 09/26/23 Page 1 of 2




                               UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                         MDL No. 2741
   LIABILITY LITIGATION
                                                   Case No. 16-md-02741-VC


   This document relates to:                       ORDER DENYING MOTIONS TO
                                                   MOVE CASES
   Colleen Tierney v. Monsanto Co., No. 3:20-
   cv-04211                                        Re: Dkt. Nos. 17281, 17282, 17283, 17291,

   Catherine Lincourt v. Monsanto Co., No.         & 17312
   3:21-cv-05317

   Richard Nissen v. Monsanto Co., No. 3:20-
   cv-06989

   John M. Searle v. Monsanto Co., No. 3:20-
   cv-08850

   Patricia Casale v. Monsanto Co., No. 3:19-
   cv-05238



       The motions to move cases from Wave VI to Wave VII are denied. An August 30, 2023,

scheduling order—that the parties proposed and that the Court granted—states that “cases that

were assigned in previous Waves 1-6, and already moved to a later wave on at least one

occasion, will not be permitted to transfer to later Waves absent extraordinary circumstances.”

Dkt. No. 17234. Each of these member cases has previously been moved back a wave. The

parties in these cases may refile their motions citing any extraordinary circumstances, describing

their impact on discovery, and what discovery has yet to be taken.

       Future motions to move a case to a later wave must either (1) note that the case has not
already been moved to a later wave or (2) identify and explain the extraordinary circumstances
       Case 3:16-md-02741-VC Document 17323 Filed 09/26/23 Page 2 of 2




that warrant the additional move.

       IT IS SO ORDERED.

Dated: September 26, 2023
                                    ______________________________________
                                    VINCE CHHABRIA
                                    United States District Judge




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